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                          UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


IN RE:                                                       Case No.: 8:18-bk-08709-RCT
SOPHIA D AMORGINOS,                                          Chapter 7

                Debtor.                      /

                     MOTION FOR RELIEF FROM AUTOMATIC STAY


                                NOTICE OF OPPORTUNITY TO
                                 OBJECT AND FOR HEARING

     Pursuant to Local Rule 2002-2, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within [21] days from
the date set forth on the proof of service plus an additional three days for service if any party was
served by U.S. Mail, or such other period as may be specified in Fed. R. Bankr. P. 9006(f).

      If you object to the relief requested in this paper, you must file an objection or response
electronically with the Clerk of the Court or by mail at U.S. Bankruptcy Court, Middle District
of Florida, 801 North Florida Avenue, Suite 555, Tampa, FL 33602 and serve a copy on the
movant’s attorney, Seth J. Greenhill, Esq., Padgett Law Group, 6267 Old Water Oak Road, Suite
203, Tallahassee, FL 32312, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either schedule and notify you of a
hearing or consider the response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
do not oppose the relief requested in the paper, will proceed to consider the paper without further
notice or hearing, and may grant the relief requested.


         COMES NOW, Nationstar Mortgage LLC d/b/a Champion Mortgage Company,

hereinafter referred to as “Movant”, seeking modification of the automatic stay in this case in

order to exercise any and all rights Movant may have in the collateral described below, or in the

alternative, adequate protection, and for cause would show the Court as follows:

         1.     On October 11, 2018, Sophia D Amorginos (hereinafter referred to as “Debtor”),

         filed for relief under Chapter 7 of the Bankruptcy Code.

         2.     Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.
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§1334, 11 U.S.C. §362 and all other applicable rules and statues affecting jurisdiction of

the Bankruptcy Courts generally.

3.     Debtor, Sophia D Amorginos, executed an Adjustable Rate Note (“Note”) and an

Adjustable Rate Home Equity Conversion Mortgage (“Mortgage”) (hereinafter referred

to as “Agreement”) in the principal amount of $323,332.50, together with interest thereon

as set forth therein. Said Agreement is currently held by Movant and a copy of the

Agreement is attached hereto as Exhibit “A”.

4.     Funds were advanced in connection with the aforementioned agreement as

purchase money for the following real property: 31 North Park Avenue, Tarpon Springs,

FL 34689.




5.     The terms of the aforementioned Agreement entitle Movant to possession of the

collateral upon Default. The Movant has declared the Debtor in Default.

6.     Movant now holds equitable title to the collateral as a result of the terms of the

Agreement.

7.     Debtor has defaulted under the terms of the Agreement by failing to make the

insurance payments as required under the Agreement. The account is currently due for

the June 20, 2018 Hazard Force Place Insurance and the June 13, 2018 Flood Force Place

Insurance. The current delinquency as of March 11, 2019 is $3,271.42. The payoff is

$186,649.52 as of March 31, 2019.

8.     According to the Pinellas County Property Appraiser, the appraised value of the

property is $130,994.00. See Exhibit “B” which is attached hereto and permissible as a
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property valuation under Fed. R. Evid. 803(8).

9.      Based upon the Debtor’s schedules, the property is claimed as non-exempt. The

Trustee has not abandoned the property.

10.     Movant’s security interest in the subject property is being significantly

jeopardized by Debtor’s failure to comply with the terms of the subject loan documents

while Movant is prohibited from pursuing lawful remedies to protect such interest.

Movant has no protection against the erosion of its collateral position and no other form

of adequate protection is provided.

11.     If Movant is not permitted to enforce its security interest in the collateral or be

provided with adequate protection, it will suffer irreparable injury, loss, and damage.

13.     Movant further requests this Court grant it relief from the Automatic Stay in the

case pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

adequate protection to Movant for its interest in the above stated collateral. The value of

the collateral is insufficient in and of itself to be provided to the Movant. Movant

additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

Debtor’s assets.

14.     Movant has incurred court costs in the amount of $181.00 and attorney’s fees in

the amount of $750.00 in this proceeding and will incur additional fees, costs and

expenses in foreclosing the Mortgage and in preserving and protecting the property, all of

which additional sums are secured by the lien of the Mortgage. Movant seeks an award of

its reasonable attorneys’ fees and costs, or alternatively, leave to seek recovery of its

reasonable attorneys’ fees and costs in any pending or subsequent foreclosure proceeding.
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       15.     Movant requests that should the Debtor convert this case to another chapter that

       relief awarded will survive any conversion made by the Debtor and will not be allowed to

       include the creditor in the Chapter 13 plan.

       16.     A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Movant prays this Honorable Court enter an order modifying the

automatic stay under 11 U.S.C. §362(d) to permit Movant to take any and all steps necessary to

exercise any and all rights it may have in the collateral described herein, to gain possession of

said collateral, to waive the 14-day stay imposed to Fed.R.Bankr.P. 4001(a)(3), to seek recovery

of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any such further

relief as this Honorable Court deems just and proper.

DATED this 12th day of March 2019.

                                             Respectfully submitted,

                                             /s/ Seth Greenhill_______________________
                                             SETH GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
                                             Tallahassee, FL 32312
                                             (850) 422-2520 (telephone)
                                             (850) 422-2567 (facsimile)
                                             SGreenhill@padgettlaw.net
                                             Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

to the parties on the attached Service List by electronic notice and/or by First Class U.S. Mail on

this 12th day of March 2019.



                                             /S/ Seth Greenhill
                                             ___________________________________
                                             SETH GREENHILL, ESQ.
                                             Florida Bar # 97938
                                             PADGETT LAW GROUP
                                             6267 Old Water Oak Road, Suite 203
                                             Tallahassee, FL 32312
                                             (850) 422-2520 (telephone)
                                             (850) 422-2567 (facsimile)
                                             SGreenhill@padgettlaw.net
                                             Attorney for Creditor
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                      SERVICE LIST (CASE NO. 8:18-bk-08709-RCT)

Debtor
Sophia D Amorginos
31 N. Park Ave.
Tarpon Springs, FL 34689

Attorney for Debtor
Steve Bartlett
Law Office of Steve Bartlett, P.A.
2150 Seven Springs Blvd.
Trinity, FL 34655

Trustee
Carolyn R. Chaney
PO Box 530248
St. Petersburg, FL 33747

U.S. Trustee
United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602
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                 Exhibit "A"
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                               Interactive Map of this parcel                  Sales Query      Back to Query Results              New Search        Tax Collector Home Page               Contact Us       WM
                                                                                                                                                                                                                   Exhibit "B"
                                                          ExhibitCase
                                                                 "B" 8:18-bk-08709-RCT             Doc 23 Filed 03/12/19
                                                                              11-27-15-43056-004-0120
                                                                                 Compact Property Record Card
                                                                                                                                                                                    Page 21 of 23

                                Tax Estimator                                                 Updated October 24, 2018                                Email Print          Radius Search           FEMA/WLM


                                           Ownership/Mailing Address Change Mailing Address                                                        Site Address
                                                      AMORGINOS, SOPHIA D
                                                                                                                                                  31 PARK AVE
                                                           31 N PARK AVE                                                                        TARPON SPRINGS
                                                   TARPON SPRINGS FL 34689-2507

        MIKE TWITTY, MAI        Property Use: 0110 (Single Family Home)                                                           Total Living: SF: 1,410 Total Gross SF: 1,705         Total Living Units:1
             Meet Mike                                                                                [click here to hide] Legal Description
                                                                                                         INNESS PARK BLK D, LOT 12
Property Appraiser HOME
                                                 Mortgage Letter             File for Homestead Exemption                                                     2019 Parcel Use
Search Our Database
                                          Exemption                          2018                        2019
Appraisal Info
                                          Homestead:                          Yes                         Yes               *Assuming no ownership changes before Jan. 1
Forms / Change of Address
                                         Government:                          No                          No                Homestead Use Percentage: 100.00%
Exemption / Save-Our-Homes /             Institutional:                       No                          No                Non-Homestead Use Percentage: 0.00%
Portability
                                           Historic:                          No                          No                Classified Agricultural: No
Tax Estimator (New)
                                                                                Parcel Information Latest Notice of Proposed Property Taxes (TRIM Notice)
Tangible Personal Property
                                                                                                                                                     Evacuation Zone
Downloads / Reports / Maps             Most Recent Recording                     Sales Comparison                Census Tract                                                               Plat Book/Page
                                                                                                                                            (NOT the same as a FEMA Flood Zone)
Truth In Millage                             07855/2282                         $148,200 Sales Query            121030275012                                 A                                     13/1
Tax Roll / Budget / Legal                                                                               2018 Interim Value Information
Glossary / FAQ's                 Year                           Just/Market Value     Assessed Value / SOH Cap        County Taxable Value             School Taxable Value          Municipal Taxable Value
Links                            2018                                     $130,994                         $91,311                   $41,311                          $66,311                          $16,311
Important ADA Information                                                     [click here to hide] Value History as Certified (yellow indicates correction on file)
About Us                        Year       Homestead Exemption              Just/Market Value      Assessed Value      County Taxable Value        School Taxable Value              Municipal Taxable Value
Contact Us                      2017               Yes                                 $124,989            $89,433                      $39,433                     $64,433                            $14,433
                                2016               Yes                                 $120,715            $87,594                      $37,594                     $62,594                            $37,594
                                2015               Yes                                 $108,895            $86,985                      $36,985                     $61,985                            $36,985
                                2014               Yes                                 $112,806            $86,295                      $36,295                     $61,295                            $36,295
                                2013               Yes                                  $95,706            $85,020                      $35,020                     $60,020                            $35,020
                                2012               Yes                                  $83,599            $83,599                      $33,599                     $58,599                            $33,599
                                2011               Yes                                  $98,877            $83,398                      $33,398                     $58,398                            $33,398
                                2010               Yes                                  $94,921            $82,166                      $32,166                     $57,166                             $7,166
                                2009               Yes                                  $99,539            $80,006                      $30,006                     $55,006                            $30,006
                                2008               Yes                                 $146,500            $79,926                      $29,926                     $54,926                            $29,926
                                2007               Yes                                 $141,000            $77,598                      $52,598                        N/A                             $52,598
                                2006               Yes                                 $134,700            $75,705                      $50,705                        N/A                             $50,705
                                2005               Yes                                 $108,300            $73,500                      $48,500                        N/A                             $48,500
                                2004               Yes                                 $100,400            $71,400                      $46,400                        N/A                             $46,400
                                2003               Yes                                  $96,700            $70,100                      $45,100                        N/A                             $45,100
                                2002               Yes                                  $80,200            $68,500                      $43,500                        N/A                             $43,500
                                2001               Yes                                  $71,200            $67,500                      $42,500                        N/A                             $42,500
                                2000               Yes                                  $69,200            $65,600                      $40,600                        N/A                             $40,600
                                1999               Yes                                  $64,400            $63,900                      $38,900                        N/A                             $38,900
                                1998               Yes                                  $63,200            $62,900                      $37,900                        N/A                             $37,900
                                1997               Yes                                  $61,900            $61,900                      $36,900                        N/A                             $36,900
                                1996               Yes                                  $60,700            $60,700                      $35,700                        N/A                             $35,700
                                                                     2017 Tax Information                                                 Ranked Sales (What are Ranked Sales?) See all transactions
                               2017 Tax Bill                                                   Tax District: TS                    Sale Date              Book/Page                      Price       Q/U     V/I
                               2017 Final Millage Rate                                                            20.6800         26 Mar 1992          07855 / 2282                        $74,200 U          I
                               Do not rely on current taxes as an estimate following a change in ownership. A
                               significant change in taxable value may occur after a transfer due to a loss of
                               exemptions, reset of the Save Our Homes or 10% Cap, and/or market conditions.
                               Please use our new Tax Estimator to estimate taxes under new ownership.
                               Amendment 1 - Will you Benefit?
                               Check Estimated 3rd Homestead Exemption Benefit

                                                                                                              2018 Land Information
                                                          Seawall: No                                             Frontage: None                                                   View:
                                             Land Use                       Land Size             Unit Value              Units         Total Adjustments                         Adjusted Value        Method
                                         Single Family (01)                  56x126                   950.00            56.0000               0.9900                                     $52,668         FF

                                                                                 [click here to hide] 2019 Building 1 Structural Elements Back to Top
                                                                                                           Site Address: 31 PARK AVE
              Case 8:18-bk-08709-RCT            Exhibit
                                           Doc 23  Filed"C"
                                                         03/12/19       Page 22 of 23



                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


IN RE:                                                    Case No.: 8:18-bk-08709-RCT
SOPHIA D AMORGINOS,                                       Chapter 7

                 Debtor.                    /

                              ORDER GRANTING MOTION FOR
                           RELIEF FROM AUTOMATIC STAY [D.E. ]

         This case is before the Court upon the Motion for Relief from Automatic Stay [D.E. ]

filed by Creditor, Nationstar Mortgage LLC d/b/a Champion Mortgage Company, hereinafter

referred to as “Movant”. No party filed an objection within the proscribed time period and the

Court therefore considers the matter unopposed. Accordingly, it is

         ORDERED:

         1.      The Motion for Relief from the Automatic Stay is GRANTED.

         2.      The automatic stay imposed by 11 U.S.C. §362 is lifted as to Movant, and it may

proceed with the enforcement of its security interest upon the following property

REAL PROPERTY LOCATED AT 31 NORTH PARK AVENUE, TARPON SPRINGS, FL
34689 AND MORE ACCURATELY DESCRIBED BY ITS LEGAL DESCRIPTION
WHICH IS:




         3.      This order is entered for the sole purpose of allowing Movant to obtain an in rem

judgment against the property and Movant shall not seek an in personam judgment against the

Debtors.

         4.      The fourteen (14) day stay period as provided by Rule 4001(a)(3) shall not be

waived or reduced.
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Attorney Seth J. Greenhill is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.

Order prepared by:
Seth J. Greenhill, Esq.
Padgett Law Group
sgreenhill@padgettlaw.net
